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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,
Plaintiff, Case No, 1:19-cr-00386-BLW
v, REPORT AND
RECOMMENDATION

KARINA RENEE MOORE a/k/a
KARINA RENEE GARCIA,

Defendant,

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On January 7, 2020, Defendant appeared before the undersigned United States
Magistrate Judge to enter a change of plea pursuant to a written plea agreement.
_ Defendant executed a written waiver of the right to have the presiding United States
District Judge take her change of plea. Thereafter, the Court explained to Defendant the
nature of the charges, the maximum penalties applicable, her constitutional rights, the
effect of the Sentencing Guidelines, and that the District Judge would not be bound by
any agreement of the parties as to the penalty to be imposed. Further, the undersigned
ordered a pre-sentence report.

Having conducted the change of plea hearing and having inquired of Defendant
and her counsel, and counsel for the United States, the Court concludes that there is a
factual basis for Defendant’s plea of guilty, and that it was entered voluntarily and with
full knowledge of the consequences, and that the plea should be accepted, The
undersigned also ordered a pre-sentence investigation to be conducted and a report

prepared by the United States Probation Office.

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RECOMMENDATION

NOW THEREFORE IT IS HEREBY RECOMMENDED:

l, The District Court accept Defendant’s plea of guilty to Count One of the Information
(Dkt. 1).

2 . The District Court order forfeiture consistent with Defendant’s admission to the Criminal
Forfeiture allegation in the Information (Dkt. 1) and detailed at pages 5—7 of the Plea

Agreement (Dkt. 2).

Written objections to this Report and Recommendation must be filed within fourteen (14)
days pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1(b), or as a result of failing to do so,
that party may waive the right to raise factual and/or legal objections to the United States Court

of Appeals for the Ninth Circuit.

 

DATED: January 7, 2620

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Honorable Ronald E. Bush
Chief U, S. Magistrate Judge

 

 

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